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                             United States District Court
                             Eastern District of Michigan

United States of America,

         Plaintiff,
                                                No. 18-20315
v.
                                                Hon. Judith E. Levy
Nathaniel Cotton,

         Defendant,



                  Stipulation and Proposed Order to Continue the
                                  Plea Cut-off, and
                          Trial and Find Excludable Delay


     The parties stipulate to continue; the plea cut-off date to July 13, 2020 at

3:00pm; and the trial date to July 27, 2020. The parties further stipulate, and jointly

move for the Court to find, that the time period between March 31, 2020, and July

27, 2020 qualifies as excludable delay under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7), because the ends of justice served by the granting of the this

continuance outweigh the best interests of the public and the defendant in a speedy

trial. The parties’ reasons for the continuance and for a finding of excludable delay

are as follows:

      The unprecedented and exigent circumstances created by COVID-19 and

       related coronavirus health conditions have created a health emergency
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     throughout the United States and numerous foreign countries that has

     resulted in widespread societal disruption. On March 10, 2020, Governor

     Gretchen Whitmer announced a state of emergency following two confirmed

     cases of COVID-19 in Michigan. President Donald Trump declared a

     national state of emergency on March 13, 2020. COVID-19 has infected

     thousands of people across all fifty states, the District of Columbia, and

     Puerto Rico, resulting in numerous fatalities.

   In order to slow the spread of the outbreak and lessen the load placed on our

     healthcare systems, various restrictions have been imposed on travel, access

     to public facilities, and government functions. As part of these efforts, on

     March 13, 2020, this court postponed indefinitely most in-court proceedings,

     including trials, before district judges and magistrate judges in the Eastern

     District of Michigan in all criminal (and civil) cases and matters, and it

     postponed indefinitely all grand jury proceedings in the Eastern District of

     Michigan. See Administrative Order 20-AO-021. This Order also reflected

     the fact that the court cannot properly secure the presence of sufficient jurors

     and grand jurors in the courthouse without jeopardizing the health and safety

     of the prospective jurors, as well as the health and safety of court personnel.

     This Order further reflected the reality that the court staff, the Court Security




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     Officers, and the Marshals Service could not operate or provide access to in-

     court proceedings without jeopardizing their health and safety.

   As a result, failure to grant a continuance would likely to make a

     continuation of the proceeding impossible, or result in a miscarriage of

     justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

   Although the court has issued a blanket determination of excludable delay

     for Speedy Trial purposes in 20-AO-21, the parties submit these additional

     case-specific reasons to supplement the reasons relied upon by the court in

     issuing that order, and request this Court to make case-specific findings

     supporting a determination of excludable delay.

   These case-specific reasons include the inability of counsel for the defendant

     and for the government to adequately prepare for trial. Due to the severe

     restrictions imposed on movement, meetings, and travel recommended by

     public health officials and required under Executive Orders, neither defense

     counsel nor counsel for the government are able to effectively review the

     discovery materials and prepare for trial. For example, most jail facilities

     have imposed severe restrictions on visitation and have imposed internal

     restrictions as well. As a result, for any detained defendant, there is little or

     no ability to meet with counsel to review the case for at least the next month.

     Counsel also have limited ability to access materials, visit and interview

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     witnesses (including, if appropriate, expert witnesses), meet with

     government counsel, and review discovery materials in the custody of the

     government. Counsel for the government are similarly limited in their ability

     to meet with agents and witnesses, as well as to access material stored at

     government facilities. Further, counsel, U.S. Attorney’s Office personnel,

     and victim-witness specialists have been encouraged to telework and

     minimize personal contact to the greatest extent possible. Trial preparation

     necessarily involves close contact with colleagues, witnesses, and others.

   As a result, failure to grant this continuance would unreasonably deny

     counsel for the defendant and the attorney for the government the reasonable

     time necessary for effective preparation, taking into account the exercise of

     due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).

   In addition, the Speedy Trial Act specifically (and automatically) excludes

     delay resulting from the unavailability of the defendant or an essential

     witness. See 18 U.S.C. §§ 3161(h)(3)(A) (rendering excludable “[a]ny

     period of delay resulting from the absence or unavailability of the defendant

     or an essential witness”) & 3161(h)(4) (excluding “[a]ny period of delay

     resulting from the fact that the defendant is mentally incompetent or

     physically unable to stand trial”). In light of the restrictions on travel,




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      movement, and public appearances, these provisions further support the

      exclusion of this time.

    Defendant and the government were engaged in active plea negotiations

      prior to the global pandemic and defendant was considering providing

      mitigation evidence to limit his potential sentencing exposure. Because

      counsel and the government are not able to meet in person at this time, a

      continuance would provide the parties with further time to conduct plea

      negotiations and assess any potential mitigation.

    This open-ended continuance is warranted under the specific circumstances

      of this case, and such continuances are permitted under the law of this

      Circuit. See, e.g., United States v. Richardson, 681 F.3d 736, 743 (6th Cir.

      2012); United States v. Sabino, 274 F.3d 1053, 1064-65 (6th Cir. 2001),

      amended in part on other grounds, 307 F.3d 446 (2002). This continuance is

      also in accordance with the Speedy Trial Act Plan of this District. See E.D.

      Mich. STA Plan ¶ 7(d)(3) (when continuance is open-ended, parties must

      “inform the court promptly when and if the circumstances that justify the

      continuance no longer exist” and must “file periodic reports”).

    The parties therefore request that the Court grant a continuance of the trial date,

the plea cut-off date, and the motion cut-off date, and further find that the delay

caused by this continuance should be deemed excludable time under 18 U.S.C.

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§ 3161(h)(7)(A) because the ends of justice served by the granting of this

continuance outweigh the best interests of the public and the defendant in a speedy

trial.

Respectfully submitted,

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                            United States District Court
                            Eastern District of Michigan

United States of America,

        Plaintiff,
                                              No. 18-20315
v.
                                              Hon. Judith E. Levy
Nathaniel Cotton,

        Defendant,



                                Order Continuing
                               the Plea Cut-off, and
                       Trial and Finding Excludable Delay



     The Court has considered the parties’ stipulation and joint motion to continue

the trial, the plea cut-off date and for a finding that the time period from March 31,

2020 to July 27, 2020 qualifies as excludable delay under the Speedy Trial Act, 18

U.S.C. § 3161(h)(7). For the reasons described in the parties’ submission, and after

considering the factors listed in § 3161(h)(7)(B), the Court finds that the ends of

justice served by granting the parties’ requested continuance outweigh the best

interests of the public and the defendant in a speedy trial and that the time from the

current trial date of April 27, 2020, to the new trial date of July 27, 2020 qualifies

as excludable delay under § 3161(h)(7). Specifically, the Court finds that:
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   The unprecedented and exigent circumstances created by COVID-19 and

     related coronavirus health conditions have created a health emergency

     throughout the United States and numerous foreign countries that has

     resulted in widespread societal disruption.

   The Court is operating under an emergency administrative order, limiting the

     availability of the Court to conduct hearings and trials.

   As a result, failure to grant a continuance would likely to make a

     continuation of the proceeding impossible, or result in a miscarriage of

     justice. See 18 U.S.C. § 3161(h)(7)(B)(i).

   Defendant and the government were engaged in active plea negotiations

     prior to the global pandemic and defendant was considering providing

     mitigation evidence to limit his potential sentencing exposure. Because

     counsel and the government are not able to meet in person at this time, a

     continuance would provide the parties with further time to conduct plea

     negotiations and assess any potential mitigation.

   The Court also finds that the ability of counsel for the defendant and for the

     government to prepare for trial is severely impaired by the health and travel

     restrictions imposed in light of the coronavirus outbreak in Michigan and

     elsewhere, and that a failure to grant this continuance would deny counsel

     for the defendant and the attorney for the government the reasonable time

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      necessary for effective preparation, taking into account the exercise of due

      diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

    IT IS THEREFORE ORDERED that the time from April 27, 2020 to July 27,

2020 shall constitute excludable delay under the Speedy Trial Act, 18 U.S.C.

§ 3161(h)(7), because the Court finds that the ends of justice served by the granting

of the continuance outweigh the best interests of the public and the defendant in a

speedy trial.

    IT IS FURTHER ORDERED that following dates are reset by the Court:

    Plea cutoff/Final Pretrial Conference:   July 13, 2020 at 2:00 p.m.

    Jury Trial:                              July 27, 2020 at 8:30 a.m.

Date: March 24, 2020                         s/Judith E. Levy
                                             United States District Judge




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